JOSEPH S. LAURENT, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  HITE H. HUFFAKER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  JAMES D. GARNETT, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  ARTHUR C. VAN WINKLE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Laurent v. CommissionerDocket Nos. 5997, 8550, 8567, 9285.United States Board of Tax Appeals12 B.T.A. 474; 1928 BTA LEXIS 3520; June 8, 1928, Promulgated *3520  The amount received by an attorney for professional services rendered to the Commonwealth of Kentucky under a contract is not exempt from income tax.  S. L. Barber, Esq., and F. O. Graves, Esq., for the petitioners.  J. L. Backstrom, Esq., for the respondent.  SMITH *475  These are proceedings for the redetermination of income taxes for 1921 as follows: Joseph S. Laurent$420.09Hite H. Huffaker1,625.15James D. Garnett675.07Arthur C. Van Winkle535.00These proceedings were consolidated for hearing and decision.  The question in issue is whether conpensation for services rendered the Commonwealth of Kentucky under the conditions hereinafter set forth received in 1921 constitutes taxable income of that year.  FINDINGS OF FACT.  The petitioners are attorneys at law and residents of Louisville, Ky. Joseph S. Laurent was during 1921 a law partner of Robert G. Gordon, and James D. Garnett and Arthur C. Van Winkle were engaged in the practice of law under the firm nam of Garnett &amp; Van Winkle.  The material facts relating to Hite H. Huffaker and James D. Garnett are identical with those which obtained in *3521 , which are incorporated herein by reference.  These individuals rendered services under the same contract to which Robert G. Gordon was a party.  For such service Huffaker received compensation of $13,225.15 and Garnett $12,825.32, of which latter amount $6,412.66 belonged to Garnett - a like amount being paid or turned over to his partner, Arthur C. Van Winkle.  In 1921, Gordon received $13,225.18, of which amount Laurent was entitled to receive and did receive $4,408.39.  The petitioners excluded from their gross and net incomes of 1921 the amounts in question; the respondent has added to the gross and net incomes of the petitioners the respective amounts received by them and has computed the deficiencies accordingly.  The facts applying specifically to Laurent and Van Winkle are that under the contract of October 10, 1917, each in conjunction with other associate counsel made investigations in connection with the tax liability of the estate of Mary Lily Bingham which carried them into other States than Kentucky where they assisted in filing suits, proparing and trying suits, and in preparing briefs in connection therewith.  Each*3522  also signed stipulations and objections as such became necessary during the progress of the suits.  The Attorney General in a general way supervised the work of each petitioner There was no matter of policy in any important feature of the case which was determined upon without the acquiescence of the Attorney General, to whom oral and written reports of the progress of the case were made.  The Attorney General's name appeared at the *476  top of the list of counsel on all briefs as the chief officer of the Commonwealth.  The reasonable traveling and other necessary expenses of petitioners were paid by the Commonwealth upon submission of vouchers accompanied by receipts, as was required by law for payment of expenses of officers and employees.  The same form of receipt book was issued to the petitioners as to officers and employees of the Commonwealth.  The Attorney General furnished petitioners with a card or certificate and instructed petitioners when traveling on business connected with the Bingham estate case to make affidavit that they were on business for the Commonwealth so that the Federal transportation tax would not attach to their railroad and Pullman tickets.  Neither*3523  of the petitioners took an oath of office nor was any commission issued to either.  In Kentucky an assistant in the Attorney General's office is not issued a commission nor required to take an oath of office.  The services of each of the petitioners continued under the contract until February or March, 1920.  During this time each maintained his office and continued his law practice.  While each always gave precedence to the work arising under the contract, yet he lost no other business on account of the contract.  From the time the contract was entered into until his services thereunder were completed each devoted a portion of his time to work arising in connection with it.  The only services performed by each petitioner for the Commonwealth of Kentucky were those under the contract of October 10, 1917.  OPINION.  SMITH: The facts, except as to amount of compensation received, and question in issue in these proceedings are the same as in . The decision in that case is controlling.  The compensation received was not exempt from income tax.  Judgments will be entered for the respondent.